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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



ANDREW H. WARREN,

              Plaintiff,

v.                                            CASE NO. 4:22cv302-RH-MAF

RON DESANTIS,

              Defendant.

________________________________________/


                           ORDER DENYING THE MOTION
                           FOR § 1292(b) CERTIFICATION


       This case arises from Florida Governor Ron DeSantis’s suspension of an

elected State Attorney, Andrew H. Warren. The suspension was based at least in

part based on two public statements joined in by Mr. Warren and scores of other

public officials. Mr. Warren filed this action against the Governor, asserting the

suspension violated the First Amendment and the Florida Constitution. Mr. Warren

moved for a preliminary injunction restoring him to his position. The Governor

moved to dismiss.

       At the conclusion of a hearing on the motions, I announced on the record my

intention to deny a preliminary injunction, to dismiss the state-law claim based on

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the Eleventh Amendment, and to deny the motion to dismiss the First Amendment

claim. I indicated a written order would be entered. The order issued on September

29, 2022.

       Before issuance of the order, the Governor moved to certify the First

Amendment ruling for interlocutory appeal under 28 U.S.C. § 1292(b). The statute

allows a district court to certify an order that “involves a controlling question of

law as to which there is substantial ground for difference of opinion,” if “an

immediate appeal from the order may materially advance the ultimate termination

of the litigation.” Whether to issue a certification, even when the statutory

prerequisites are met, is committed to a district court’s discretion. See Swint v.

Chambers Cnty. Comm’n, 514 U.S. 35, 47 (1995); see also OFS Fitel, LLC v.

Epstein, Becker & Green, P.C., 549 F.3d 1344, 1358 (11th Cir. 2008). That the

September 29 order has already issued would not preclude certification now;

certification could be accomplished by adding the necessary certification and

reissuing the September 29 order.

       As a matter of discretion, I choose not to certify the order.

       The Governor has identified only a single question of law that he says is

“controlling”: whether Garcetti v. Ceballos, 547 U.S. 410 (2006), applies to speech

of elected officials. Garcetti held “that when public employees make statements

pursuant to their official duties, the employees are not speaking as citizens for First



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Amendment purposes, and the Constitution does not insulate their communications

from employer discipline.” Garcetti, 547 U.S. at 421.

       As set out in the September 29 order, the better view, supported by the

weight of circuit authority, is that Garcetti does not apply to speech of elected

officials, who are not subject to employer discipline of the kind involved in

Garcetti. More importantly for present purposes, the issue did not control the

outcome in the September 29 order.

       The order rejected the Governor’s Garcetti argument on two grounds, each

of which would have been sufficient standing alone to require denial of the motion

to dismiss the First Amendment claim. The first ground was that Garcetti does not

apply to speech of elected officials. The second ground was that speech at issue—

the statements joined in by Mr. Warren and scores of other officials—was not part

of Mr. Warren’s official duties. This second ground turns on facts only partially

developed to this point. Factual issues of this kind are commonplace in

employment cases, can rarely be resolved on motions to dismiss, are never

certified for immediate appeal under § 1292(b), and rarely become issues on appeal

from the final judgment that is eventually entered. This is precisely the kind of

issue that, as a matter of discretion, ought not be certified for an interlocutory




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       appeal.

       IT IS ORDERED:

       The motion for a § 1292(b) certification, ECF No. 60, is denied.

       SO ORDERED on October 4, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




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